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                                                                                           UNITED STATES DISTRICT COURT
                                                                                            FOR THE DISTRICT OF ALASKA
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                                                                    ALASKA WILDLIFE ALLIANCE, et al.,                     No.: 3:21-cv-00209-SLG

                                                                                                            Plaintiffs,

                                                                           v.

                                                                    U.S. FISH & WILDLIFE SERVICE, et al.,

                                                                                                          Defendants,

                                                                           and

                                                                    ALASKA OIL AND GAS ASSOCIATION, et
                                                                    al.,

                                                                                               Intervenor-Defendants.




                                                                           OPPOSITION BRIEF BY ALASKA OIL AND GAS ASSOCIATION
                                                                                               (L.R. 16.3(c)(2))




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                                                                                                        I. INTRODUCTION

                                                                           Since 1993, the U.S. Fish and Wildlife Service (the “Service”) has repeatedly

                                                                    promulgated multi-year regulations under the Marine Mammal Protection Act

                                                                    (“MMPA”) to allow the unintentional, non-lethal take of small numbers of polar bears

                                                                    and Pacific walruses incidental to lawfully permitted oil and gas activities in the Beaufort

                                                                    Sea and nearshore areas of Alaska’s North Slope. The Alaska Oil and Gas Association

                                                                    (“AOGA”), on behalf of its members, has voluntarily requested these regulations in an
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                                                                    effort to establish a comprehensive, predictable, and effective regulatory framework for
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                                                                    authorizing, mitigating, and monitoring incidental take. 1 The set of incidental take
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                                                                    regulations (“ITR”) challenged in this lawsuit is the 10th in the decades-long series of

                                                                    Beaufort Sea ITRs addressing incidental take from North Slope oil and gas activities.

                                                                           Petitioning for an ITR is a substantial undertaking that requires extensive data

                                                                    production and analyses by North Slope operators and AOGA. The alternative to this

                                                                    regulatory program is for individual operators to obtain one-year incidental harassment

                                                                    authorizations (“IHAs”) for their specific projects or annual activities, which is also

                                                                    allowed by the MMPA. 2 However, AOGA and its members have proactively chosen,

                                                                    over many decades, to utilize the MMPA’s ITR process in the interest of efficiently




                                                                           1
                                                                               See 16 U.S.C. § 1371(a)(5)(A).
                                                                           2
                                                                               See 16 U.S.C. § 1371(a)(5)(D).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    1


                                                                          Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 9 of 58
                                                                    assessing activities over multi-year periods and developing a uniform suite of mitigation

                                                                    and monitoring measures that can be effectively and consistently used by operators across

                                                                    the region.

                                                                           This regulatory program—which is unparalleled in the history of the MMPA—is

                                                                    demonstrably and unquestionably successful. Based on nearly 30 years of experience,

                                                                    monitoring, reporting, study, and analysis, the Service has determined that “the

                                                                    documented impacts of incidental take by Industry activity in the Beaufort Sea ITR
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                                                                    region affected only small numbers of bears, were primarily short-term changes to
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                                                                    behavior, and had no long-term impacts on individuals and no impacts on the [Southern
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                                                                    Beaufort Sea] polar bear population, or the global population.” 3 Moreover, the mitigation

                                                                    measures, as designed and improved over the decades, “have proven effective at reducing

                                                                    human-polar bear encounters and the risks to bears and humans when encounters occur.” 4

                                                                           Despite this proven record of success, environmental advocacy organizations—

                                                                    including some of the Plaintiffs—have repeatedly challenged Arctic ITRs as a tactic to

                                                                    advance their policy goals of impeding or preventing oil and gas development activities



                                                                           3
                                                                               BSITR0013781.
                                                                           4
                                                                             BSITR0002391; see Ctr. for Biological Diversity v. Salazar, 695 F.3d 893, 908-
                                                                    09 (9th Cir. 2012) (“Salazar”) (“[T]he overall record supports the Service’s conclusion
                                                                    that the mitigation and monitoring measures are effective.” (referencing previous
                                                                    Beaufort Sea and Chukchi Sea ITRs)).


                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    2


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 10 of 58
                                                                    on Alaska’s North Slope. 5 After the first seven Arctic ITRs went uncontested, Plaintiffs,

                                                                    in 2007, began their series of challenges to ITRs issued for the Beaufort Sea and Chukchi

                                                                    Sea regions, asserting a variety of MMPA, Endangered Species Act (“ESA”), and

                                                                    National Environmental Policy Act (“NEPA”) claims. In three prior lawsuits, the Alaska

                                                                    District Court and the Ninth Circuit Court of Appeals rejected every claim asserted by

                                                                    Plaintiffs. 6 Here, in this fourth attempt to advance their policy goals, Plaintiffs again lob

                                                                    an assortment of MMPA, ESA, and NEPA claims that second-guess the Service’s
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                                                                    judgment and misconstrue the law.
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                                                                           AOGA intervened in this case to defend the Beaufort Sea ITR program against
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                                                                    claims that are irreconcilable with applicable law, previous rulings by this Court and the

                                                                    Ninth Circuit, and the extensive record supporting the Service’s findings. Here, the

                                                                    Service, in promulgating the challenged ITR, employed a methodology that overestimates




                                                                           5
                                                                            For example, “‘My hope is that Willow dies a death by a thousand cuts,’ said
                                                                    Bridget Psarianos, a staff attorney at Trustees for Alaska which represented plaintiffs
                                                                    suing over Willow.” Joshua Partlow, A ‘carbon bomb’ or desperately needed energy?
                                                                    Alaskan village holds key to Biden’s climate policy, The Washington Post (June 26,
                                                                    2022), https://www.washingtonpost.com/climate-environment/2022/06/26/fast-warming-
                                                                    alaskan-village-fate-bidens-climate-policy-could-be-decided/.
                                                                           6
                                                                            See Ctr. for Biological Diversity v. Kempthorne, 588 F.3d 701 (9th Cir. 2009)
                                                                    (“Kempthorne”) (upholding 2006-11 Beaufort Sea ITR); Salazar, 695 F.3d 893
                                                                    (upholding 2008-13 Chukchi Sea ITR); Alaska Wilderness League v. Jewell, 116 F. Supp.
                                                                    3d 958 (D. Alaska 2015) (upholding 2013-18 Chukchi Sea ITR), vacated as moot by 637
                                                                    F. App’x 976 (9th Cir. 2015).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    3


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 11 of 58
                                                                    the potential for polar bear harassment by North Slope activities. 7 The Service’s

                                                                    modeling analysis relies on numerous conservative and precautionary assumptions, and

                                                                    thereby projects potential harassment events in excess of what has actually been observed

                                                                    over decades of monitoring. This overestimation is not a new occurrence (in the past,

                                                                    actual harassments have been far fewer than predicted) 8, and it is not an approach that

                                                                    AOGA endorses. Nevertheless, it does show that the agency decisions challenged by

                                                                    Plaintiffs are highly conservative.
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                                                                            Even with the precautionary estimates and analyses used by the Service, the
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                                                                    record demonstrates that the Service evaluated all of the data before it, considered and
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                                                                    transparently disclosed all of the results of its modeling in extraordinary detail, and

                                                                    reached well-supported determinations that the authorized take would affect no more than

                                                                    “small numbers” of polar bears and have no more than a “negligible impact.” The record

                                                                    also shows that the comprehensive suite of mitigation measures included in the ITR—

                                                                    which builds upon previous ITR measures to include new requirements—will ensure the

                                                                    “least practicable impact” on polar bears. Plaintiffs’ challenges to these determinations


                                                                           7
                                                                               See BSITR0017840 (AOGA comment letter).
                                                                           8
                                                                            In the 2011-16 Beaufort Sea ITR, the Service authorized 150 annual Level B
                                                                    harassments (750 total), and, during that period, an average of 13.6 Level B harassments
                                                                    were observed each year (68 total). In the 2016-21 Beaufort Sea ITR, the Service
                                                                    authorized 68 annual Level B harassments (340 total), and, during that period, an average
                                                                    of 14.0 Level B harassments were observed each year (70 total). See BSITR0000751;
                                                                    BSITR0013793; 76 Fed. Reg. 47,010, 47,041 (Aug. 3, 2011).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    both misconstrue the MMPA and quibble with the Service’s interpretations of data and

                                                                    the results produced by the Service’s own conservative modeling. Plaintiffs’ ESA and

                                                                    NEPA claims are similarly misguided and repeat arguments that have already been

                                                                    rejected in previous cases.

                                                                           In the last challenge to a Beaufort Sea ITR, the Ninth Circuit “grant[ed] the

                                                                    Service great deference as it made a scientific prediction within the scope of its technical

                                                                    expertise.” 9 This Court should grant the same deference and reach the same conclusion,
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                                                                    upholding the Beaufort Sea ITR. AOGA respectfully requests that the Court deny
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                                                                    Plaintiffs’ motion for summary judgment and grant the cross-motions for summary
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                                                                    judgment of the Federal Defendants, the State of Alaska, and AOGA.

                                                                                                        II. BACKGROUND

                                                                    A.     Relevant MMPA Standards.

                                                                           The MMPA generally prohibits the “taking” of marine mammals, which means to

                                                                    “harass, hunt, capture, or kill, or attempt to harass, hunt, capture, or kill any marine

                                                                    mammal.” 10 “Level A harassment” is defined as “any act of pursuit, torment, or

                                                                    annoyance which … has the potential to injure a marine mammal or marine mammal

                                                                    stock in the wild.” 11 “Level B harassment” means “any act of pursuit, torment, or


                                                                           9
                                                                               Kempthorne, 588 F.3d at 712.
                                                                           10
                                                                                16 U.S.C. § 1362(13).
                                                                           11
                                                                                Id. § 1362(18)(A)(i) (emphasis added).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    annoyance which … has the potential to disturb a marine mammal or marine mammal

                                                                    stock in the wild by causing disruption of behavioral patterns, including, but not limited

                                                                    to, migration, breathing, nursing, breeding, feeding, or sheltering.” 12

                                                                           The MMPA contains various exceptions to the take prohibition that apply to

                                                                    commercial fisheries, non-fishing activities, research activities, and acts in defense of

                                                                    human life or property. Section 101(a)(5) of the MMPA provides the two primary

                                                                    mechanisms for authorizing marine mammal take incidental to non-fishing activities: (1)
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                                                                    IHAs, which are direct authorizations of harassment incidental to a “specified activity”
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                                                                    “for periods of not more than 1 year”; 13 and (2) ITRs, which are regulations applicable to
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                                                                    a “specified activity” under which the Service “shall allow, during periods of not more

                                                                    than five consecutive years each,” incidental marine mammal take. 14 After an ITR is

                                                                    issued, the subsequent take authorizations are accomplished through the issuance of

                                                                    letters of authorization (“LOAs”). 15 Certain statutory conditions apply to both IHAs and

                                                                    ITRs, including:




                                                                           12
                                                                                Id. § 1362(18)(A)(ii) (emphasis added).
                                                                           13
                                                                                Id. § 1371(a)(5)(D)(i) (emphasis added).
                                                                           14
                                                                                Id. § 1371(a)(5)(A)(i) (emphasis added).
                                                                           15
                                                                                50 C.F.R. § 18.27(b).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    6


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 14 of 58
                                                                           • Both may only be issued “[u]pon request therefor by citizens of the United

                                                                                 States” who engage in the “specified activity” (i.e., they cannot be unilaterally

                                                                                 issued by the Service); 16

                                                                           • Both may only result in the taking of “small numbers of marine mammals of a

                                                                                 species or a population stock”; 17 and

                                                                           • Both must specify “other means of effecting the least practicable adverse

                                                                                 impact on such species or stock and its habitat” as well as “monitoring and
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                                                                                 reporting” requirements. 18
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                                                                           Additionally, the Service must find that the “harassment during each [one-year]
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                                                                    period concerned” (for IHAs), or the “total of such taking during each five-year (or less)

                                                                    period concerned” (for ITRs), “will have a negligible impact on such species or stock.” 19

                                                                    For ITRs, the Service has defined “negligible impact” as “an impact resulting from the

                                                                    specified activity that cannot be reasonably expected to, and is not reasonably likely to,

                                                                    adversely affect the species or stock through effects on annual rates of recruitment or

                                                                    survival.” 20



                                                                           16
                                                                                Id. § 1371(a)(5)(A)(i), (a)(5)(D)(i).
                                                                           17
                                                                                Id. § 1371(a)(5)(A)(i), (a)(5)(D)(i).
                                                                           18
                                                                                Id. § 1371(a)(5)(A)(i)(II)(aa), (a)(5)(D)(ii)(I).
                                                                           19
                                                                                Id. § 1371(a)(5)(A)(i)(I), (a)(5)(D)(i)(I).
                                                                           20
                                                                                50 C.F.R. § 18.27(c).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    7


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 15 of 58
                                                                           Through these mechanisms, the Service authorizes only incidental take, not the

                                                                    underlying activities. As the Ninth Circuit has explained, “the incidental take regulations

                                                                    do not authorize, or ‘permit,’ the actual activities associated with oil and gas exploration

                                                                    in the [ITR region]; they simply shield the proposed activities from take liability under

                                                                    the MMPA…. Other federal and state agencies are responsible for permitting oil and gas

                                                                    activities on waters and lands within their jurisdiction.” 21

                                                                    B.     Factual History.
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                                                                           The Beaufort Sea ITR region encompasses lands on the North Slope and adjacent
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                                                                    waters of the Beaufort Sea, extending from Point Barrow on the west to the boundary of
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                                                                    the Arctic National Wildlife Refuge (“ANWR”) on the east. 22 Only 7% of the ITR area is

                                                                    estimated to be affected by industry activities, 23 and no lands or waters within the

                                                                    boundaries of ANWR are included in the area. 24

                                                                           Since 1993, the oil and gas industry has requested, and the Service has issued, a

                                                                    series of nine ITRs (not including the present ITR) allowing the incidental take of small

                                                                    numbers of polar bears and Pacific walruses incidental to oil and gas exploration,




                                                                           21
                                                                                Salazar, 695 F.3d at 916 (internal quotation marks and citations omitted).
                                                                           22
                                                                                BSITR0002367.
                                                                           23
                                                                                BSITR0002422.
                                                                           24
                                                                                BSITR0002367, 2453.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    8


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 16 of 58
                                                                    development, and production activities in the Beaufort Sea and adjacent North Slope. 25

                                                                    Based on the extensive mitigation and monitoring that has been employed over the

                                                                    decades-long ITR program, the Service has found that the “[d]ocumented impacts on

                                                                    polar bears by the oil and gas Industry during the past 40 years appear to be minimal.” 26

                                                                    In fact, the collected data show that 94% of polar bear sightings near Beaufort Sea region

                                                                    facilities result in no Level B harassment. 27 Out of the remaining 6% of all polar bear

                                                                    sightings, approximately 14 polar bear Level B harassments are observed, on average,
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                                                                    each year. 28 These instances of harassment are limited to short-term behavioral changes
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                                                                    that do not have any consequence on polar bear survival and recruitment. 29 Instances of
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                                                                    Level A harassment of polar bears are “exceedingly rare”—only a single Level A

                                                                    harassment was observed in the Beaufort ITR region during the 2012-18 time period, and

                                                                    that event resulted from a non-industry activity associated with defense of human life. 30




                                                                           25
                                                                             See 58 Fed. Reg. 60,402 (Nov. 16, 1993); 60 Fed. Reg. 42,805 (Aug. 17, 1995);
                                                                    64 Fed. Reg. 4,328 (Jan. 28, 1999); 65 Fed. Reg. 5,275 (Feb. 3, 2000); 65 Fed. Reg.
                                                                    16,828 (Mar. 30, 2000); 68 Fed. Reg. 66,744 (Nov. 28, 2003); 71 Fed. Reg. 43,926 (Aug.
                                                                    2, 2006); 76 Fed. Reg. 47,010; 81 Fed. Reg. 52,275 (Aug. 5, 2016).
                                                                           26
                                                                                BSITR0002276.
                                                                           27
                                                                                BSITR0000741.
                                                                           28
                                                                                BSITR0000751.
                                                                           29
                                                                                BSITR0002422.
                                                                           30
                                                                                BSITR0002396.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    9


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 17 of 58
                                                                           Consistent with this history, when the Service listed the polar bear as a

                                                                    “threatened” species in 2008, it found that “these [incidental take mitigation] provisions

                                                                    under the MMPA have often proven to be beneficial to the conservation of marine

                                                                    mammals such as the polar bear.” 31 It also determined that “[o]il and gas exploration,

                                                                    development, and production activities do not threaten the [polar bear] species throughout

                                                                    all or a significant portion of its range.” 32 In its related “4(d) rule” for the polar bear, the

                                                                    Service performed a detailed evaluation of the Arctic ITR programs and concluded that
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                                                                    the “[d]ata provided by the required monitoring and reporting programs in the Beaufort
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                                                                    Sea and in the Chukchi Sea show that mitigation measures successfully minimized effects
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                                                                    on polar bears.” 33 The D.C. District Court agreed with the Service’s conclusion, finding

                                                                    the ITR programs to be “necessary and advisable to provide for the conservation of the

                                                                    polar bear.” 34




                                                                           31
                                                                                73 Fed. Reg. 28,306, 28,314 (May 15, 2008).
                                                                           32
                                                                                BSITR0008266 (emphasis added).
                                                                           33
                                                                             73 Fed. Reg. 76,249, 76,254 (Dec. 16, 2008); see also 78 Fed. Reg. 11,766,
                                                                    11,772 (Feb. 20, 2013) (reissuing 4(d) rule and recognizing that mitigation measures
                                                                    employed by the oil and gas industry “have ensured that industry effects on polar bears
                                                                    have remained at the negligible level”).
                                                                           34
                                                                             In re Polar Bear Endangered Species Act Listing & 4(d) Rule Litig., 818 F.
                                                                    Supp. 2d 214, 233 (D.D.C. 2011).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    10


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 18 of 58
                                                                           Subsistence harvesting is the greatest source of human-caused mortality for polar

                                                                    bears. 35 “From 2016 to 2020, the total reported removal of SBS polar bears in Alaska

                                                                    within and around the ITR region was 124 bears, all of which were associated with

                                                                    subsistence harvest by Alaska natives.” 36 Since 1968, only three polar bears have died as

                                                                    a result of interaction with the North Slope oil and gas industry, all involving adult bears

                                                                    and acts in defense of human life (i.e., not incidental Level A harassment). 37 Intentional

                                                                    take conducted in defense of human life is authorized under a different provision of the
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                                                                    MMPA. 38
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                                                                    C.     AOGA’s Petition and the Service’s Conservative Take Analysis.
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                                                                           Consistent with prior practice, AOGA initially submitted a draft ITR petition in

                                                                    December 2019, requesting that the Service develop a new Beaufort Sea ITR to

                                                                    supersede the 2016-21 ITR upon expiration. 39 After several rounds of meetings with the

                                                                    Service, coordination with AOGA’s members, and revisions to the petition, on March 9,



                                                                           35
                                                                                BSITR0002390.
                                                                           36
                                                                                BSITR0018591.
                                                                           37
                                                                                BSITR0013781.
                                                                           38
                                                                             See 16 U.S.C. § 1371(c) (taking in defense of self or others); 50 C.F.R. § 18.34
                                                                    (Guidelines for use in safely deterring polar bears).
                                                                           39
                                                                             BSITR0000003. Plaintiffs mistakenly contend that the Service “unlawfully
                                                                    approved the incidental take by harassment of SBS polar bears from oil and gas activities
                                                                    in the 2016-2021 Beaufort Sea [ITR].” Dkt. 31 at 1. The 2016-21 ITR expired in August
                                                                    2021.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    11


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 19 of 58
                                                                    2021, AOGA submitted a final petition formally requesting that the Service promulgate a

                                                                    new ITR. 40 Like previous ITRs, the activities included in the petition cover all reasonably

                                                                    foreseeable oil and gas exploration, development, production, and associated support

                                                                    activities in the Beaufort Sea region, from August 2021 to August 2026. 41

                                                                           Based upon a detailed evaluation of thousands of polar bear sightings and

                                                                    behavioral responses recorded over the most recent decade of polar bear monitoring

                                                                    records, as well as a comprehensive assessment of anticipated industry activities over the
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                                                                    next five-year period, AOGA’s petition requested incidental Level B harassment
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                                                                    authorization of 30 polar bears per year and a total of 150 bears over the 2021-26
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                                                                    period. 42 This estimate and request erred on the side of being conservatively high

                                                                    because, inter alia, (i) in only three years since 2009 have more than 20 annual Level B

                                                                    harassments of polar bears been documented, (ii) the average number of polar bear Level

                                                                    B harassment events observed annually is 14, and (iii) sighting instances that may not

                                                                    have resulted in biologically significant behavioral changes were conservatively

                                                                    categorized as Level B harassment for purposes of estimation. 43



                                                                           40
                                                                              See BSITR0000141 (June 2020 Second Draft Petition); BSITR0000613 (Final
                                                                    Petition); BSITR0002447 (final ITR noting revisions to the draft petition to reduce
                                                                    impacts on polar bears).
                                                                           41
                                                                                BSITR0000624.
                                                                           42
                                                                                See BSITR0000750-63.
                                                                           43
                                                                                See BSITR0000762.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    12


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                                                                           AOGA’s petition did not request authorization for Level A harassment because it

                                                                    concluded that Level A harassment is unlikely to occur over the five-year period based

                                                                    upon an additional detailed evaluation of the observational record and a review of the

                                                                    most relevant scientific papers. 44 The assessment of the observational record includes a

                                                                    close examination of the only six instances of polar bear denning that have occurred in

                                                                    close proximity to industry facilities since 2009. This examination is summarized in the

                                                                    petition and assessed in detail in an appendix to the petition. 45 In none of the six instances
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                                                                    did any harassment occur (much less Level A harassment). In five of the instances the
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                                                                    bears successfully denned, and in the sixth instance the bear left the den of its own accord
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                                                                    and did not birth cubs. 46

                                                                           As part of its evaluation of AOGA’s petition, the Service employed a newly

                                                                    created predictive model to estimate annual take of polar bears for each of the five years

                                                                    of the ITR. 47 The Service’s model is more conservative than the already-conservative

                                                                    methodology used in AOGA’s petition to estimate incidental take. 48 For example, the

                                                                    Service’s model “analyzed the most impactful scenario that was possible” and



                                                                           44
                                                                                See BSITR0000763-71.
                                                                           45
                                                                                See BSITR0000769-70 (Petition); BSITR0000853-77 (Appendix).
                                                                           46
                                                                                See BSITR0000859-74.
                                                                           47
                                                                                BSITR0002401-16.
                                                                           48
                                                                                See BSITR0001829-32 (AOGA comment letter).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    13


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 21 of 58
                                                                    conservatively assumed certain activities would occur each of the five years even though

                                                                    those activities will not occur each year. 49 The Service’s model used the upper 99th

                                                                    percentile of each probability distribution (i.e., to assume the highest possible risk) as

                                                                    well as data from case studies of polar bear disruptions associated with scientific research

                                                                    activities in which bears are intentionally disturbed and captured (in contrast to industry

                                                                    activities that avoid polar bears). 50 The Service’s model also does not account for all

                                                                    mitigation measures in the ITR, which demonstrably reduce the probability of any
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                                                                    disturbance to polar bears. 51
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                                                                           On August 5, 2021, the Service issued the final ITR, effective for a five-year
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                                                                    period through August 5, 2026. 52 Consistent with AOGA’s petition, the final ITR

                                                                    authorizes only Level B harassment of polar bears and walruses (albeit in amounts more

                                                                    than AOGA requested). The Service also evaluated the potential for Level A harassment

                                                                    and concluded it was unlikely to occur (consistent with all previous ITRs).




                                                                           49
                                                                                BSITR0002414.
                                                                           50
                                                                                BSITR0017843-45.
                                                                           51
                                                                              See BSITR0002430 (“The Service further notes that the mitigative effect of
                                                                    certain measures described in AOGA’s request—i.e., avoidance of steep slopes and use
                                                                    of trained observers to clear potential denning areas prior to road construction—could not
                                                                    be reliably quantified and thus integrated into the Service’s modelling analysis, but may
                                                                    further reduce the probability of den disturbance.”).
                                                                           52
                                                                                BSITR0002365-2457.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                                                    III. STANDARD OF REVIEW

                                                                             The Administrative Procedure Act (“APA”) directs courts to “hold unlawful and

                                                                    set aside” an agency decision that is “arbitrary, capricious, an abuse of discretion, or

                                                                    otherwise not in accordance with law.” 53 “The scope of review under the ‘arbitrary and

                                                                    capricious’ standard is narrow and a court is not to substitute its judgment for that of the

                                                                    agency.” 54 Additionally, APA review is highly deferential and the agency’s decision is

                                                                    entitled to a presumption of regularity. 55 “This traditional deference to the agency is at its
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                                                                    highest where a court is reviewing an agency action that required a high level of technical
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                                                                    expertise.” 56 Courts also defer to the agency’s reasonable interpretations of its statutory
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                                                                    mandates. 57




                                                                              5 U.S.C. § 706(2)(A).
                                                                             53

                                                                           54
                                                                              Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463
                                                                    U.S. 29, 43 (1983).
                                                                           55
                                                                              San Luis & Delta-Mendota Water Auth. v. Jewell, 747 F.3d 581, 601 (9th Cir.
                                                                    2014).
                                                                             56
                                                                                  San Luis & Delta-Mendota Water Auth. v. Locke, 776 F.3d 971, 994 (9th Cir.
                                                                    2014).
                                                                             57
                                                                                  Chevron, U.S.A., Inc. v. Nat. Res. Defense Council, Inc., 467 U.S. 837, 843
                                                                    (1984).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    15


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                                                                                                          IV. ARGUMENT

                                                                    A.     The Service’s “Small Numbers” Determination Is Well-Supported and
                                                                           Consistent with Law.

                                                                           Plaintiffs’ challenge to the Service’s “small numbers” determination hinges on the

                                                                    premise that the Service had no choice and was required by law to sum the expected

                                                                    amount of incidental take over the entire five-year period of the ITR in order to determine

                                                                    whether the “small numbers” requirement was satisfied. 58 As explained below, this

                                                                    argument fails for many reasons.
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                                                                           The Service found that its (highly conservative) estimate of 92 annual polar bear
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                                                                    Level B harassments during the five-year period—which equates to 10% of the estimated
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                                                                    stock size—constitutes a “small number.” 59 This Court previously upheld the National

                                                                    Marine Fisheries Service’s (“NMFS”) determination that taking 10% of the Cook Inlet

                                                                    beluga whale population in a single year under an IHA is a “small number.” 60 Plaintiffs

                                                                    do not contend that 10% is not a “small number.” Rather, they quibble with the method




                                                                           58
                                                                                Dkt. 31 at 11-12.
                                                                           59
                                                                                BSITR0002422; see also BSITR0002429 (same).
                                                                           60
                                                                             See Native Vill. of Chickaloon v. Nat’l Marine Fisheries Serv., 947 F. Supp. 2d
                                                                    1031, 1053 (D. Alaska 2013) (“Mathematically speaking, 10% represents a relatively
                                                                    limited or small portion of 100%.”).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    16


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                                                                    used by the Service to make its “small numbers” determination. But “[a]n agency’s

                                                                    scientific methodology is owed substantial deference….” 61

                                                                           The MMPA does not define the term “small numbers” or dictate how it should be

                                                                    applied. 62 As the Ninth Circuit explained, “Congress recognized ‘the imprecision of the

                                                                    term “small numbers,” but was unable to offer a more precise formulation because the

                                                                    concept is not capable of being expressed in absolute numerical limits.’” 63 Accordingly,

                                                                    the Ninth Circuit extends Chevron deference to an agency’s reasonable interpretation of
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                                                                    “small numbers.” 64 Here, the Service provided a logical, rational explanation supporting
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                                                                    its method of assessing “small numbers” and its determination:
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                                                                                     The SBS population estimate … is calculated using a number
                                                                                     of annual metrics, including annual survival probabilities,
                                                                                     annual number of dens, and annual denning success. The
                                                                                     resulting value is an estimate of the number of individuals in
                                                                                     the population in any given contemporary year.
                                                                                     Appropriately, the Service has divided annual take estimates
                                                                                     by the annual population estimate, to calculate a percentage
                                                                                     of the population potentially taken for its small numbers
                                                                                     determination. This approach best enables the Service to
                                                                                     assess whether the number of animals taken is small relative

                                                                           61
                                                                              Gifford Pinchot Task Force v. U.S. Fish & Wildlife Serv., 378 F.3d 1059, 1066
                                                                    (9th Cir. 2004), superseded on other grounds by regulation as stated in Defenders of
                                                                    Wildlife v. Zinke, 856 F.3d 1248, 1260 (9th Cir. 2017).
                                                                           62
                                                                             Nat. Res. Def. Council, Inc. v. Evans, 279 F. Supp. 2d 1129, 1147 (N.D. Cal.
                                                                    2003); 16 U.S.C. § 1371(a)(5)(A).
                                                                           63
                                                                             Salazar, 695 F.3d at 906 (emphasis in original) (quoting H.R. Rep. No. 97-228,
                                                                    reprinted in 1981 U.S.C.C.A.N. 1458, 1469).
                                                                           64
                                                                                Id. at 907.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    17


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                                                                                    to the species or stock. Consideration of annual estimates
                                                                                    tracks with the use of “each” in 16 U.S.C. 1371(a)(5)(A)(i)
                                                                                    and the use of annual LOAs to authorize the incidental take.
                                                                                    Comparing the aggregate number of takes over 5 years with a
                                                                                    population estimate specific to 1 year, as commenter suggests
                                                                                    doing, is a less suitable comparison…. The Service’s “small
                                                                                    numbers” determination here is consistent with applicable
                                                                                    law, policy, and longstanding practice.[65]

                                                                    This explanation is reasonable and entitled to deference. Given that the Service was not

                                                                    even required to quantify the number of expected takes to support its “small numbers”

                                                                    determination, 66 this approach is hardly arbitrary. On this basis alone, the Court should
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                                                                    deny Plaintiffs’ claim. 67 The following additional reasons support such a denial.

                                                                           First, the MMPA’s “total take” language seized upon by Plaintiffs references the
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                                                                    “negligible impact” standard, not the “small numbers” phrase that appears in the

                                                                    preceding statutory paragraph. 68 If Congress intended for the Service to calculate the

                                                                    “total” take over the five-year period when evaluating “small numbers,” it would have




                                                                           65
                                                                                BSITR0002428.
                                                                            Id. (“Nor is there anything in Section 101(a)(5)(A) that requires the Service,
                                                                           66

                                                                    when promulgating incidental take regulations, to quantify or estimate the number of
                                                                    mammals that would be taken.”).
                                                                           67
                                                                             See Kempthorne, 588 F.3d at 712 (“Again, we grant the Service great deference
                                                                    as it made a scientific prediction within the scope of its technical expertise.”).
                                                                           68
                                                                                Compare 16 U.S.C. § 1371(a)(5)(A)(i)(I) with id. § 1371(a)(5)(A)(i).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    18


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 26 of 58
                                                                    said so. 69 And, in any event, the Service must still consider “annual rates of recruitment

                                                                    or survival” when determining whether the “total” take authorized meets the separate

                                                                    “negligible impact” standard. 70

                                                                           Second, Plaintiffs’ construction of the statute makes no sense. If the Service were

                                                                    required to determine “small numbers” by summing the estimated harassment across all

                                                                    five years of an ITR, applicants could bypass that requirement by seeking five

                                                                    consecutive one-year IHAs, which is lawful under the MMPA. Accepting Plaintiffs’
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                                                                    interpretation would mean that Congress—for no apparent reason—placed more stringent
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                                                                    requirements on “small numbers” for ITRs than for IHAs, but then created an obvious
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                                                                    loophole to avoid that more stringent requirement. Courts reject statutory interpretations

                                                                    that lead to such absurd results. 71

                                                                           Third, the phrase “during periods of not more than five consecutive years each”—

                                                                    also seized upon by Plaintiffs—says nothing about how the Service must assess whether




                                                                           69
                                                                             See Tin Cup, LLC v. U.S. Army Corps of Eng’rs, 904 F.3d 1068, 1073 (9th Cir.
                                                                    2018) (“When Congress uses particular language in one part of a statute and omits it
                                                                    elsewhere, it is generally presumed that Congress acts intentionally and purposely in the
                                                                    disparate inclusion or exclusion.” (internal quotation marks and citation omitted)).
                                                                           70
                                                                                50 C.F.R. § 18.27(c) (emphasis added).
                                                                           71
                                                                             See United States v. Turkette, 452 U.S. 576, 580 (1981) (“In determining the
                                                                    scope of a statute … absurd results are to be avoided….”); United States v. LKAV, 712
                                                                    F.3d 436, 444 (9th Cir. 2013) (“We must avoid [a statutory] interpretation that would
                                                                    produce absurd results.” (internal quotations and citation omitted)).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    19


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                                                                    “small numbers” of animals are taken during that period. 72 If Plaintiffs’ formulation were

                                                                    true, then the Service could issue a series of one-year ITRs to bypass a requirement that

                                                                    take must be summed over a longer multi-year ITR. Again, this construction of the statute

                                                                    would lead to an absurd result.

                                                                           Fourth, Plaintiffs make a last-ditch attempt to characterize the Service’s

                                                                    interpretation and application of the MMPA as a “reversal in policy” subject to the

                                                                    standards in F.C.C. v. Fox Television Stations, Inc. 73 But the Service’s interpretation of
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                                                                    the MMPA is viewed through the Chevron framework, 74 and is not a “change in a
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                                                                    published regulation or official policy” subject to the Fox framework. 75 In any event,
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                                                                    Plaintiffs’ so-called “change in policy” is just a mischaracterization of the Service’s prior

                                                                    polar bear ITRs.

                                                                           As the Service states, it “has always relied on annual estimates based on

                                                                    encounters during previous years and the proportion of those individuals that experienced

                                                                    take by Level B harassment.” 76 Indeed, the language cited by Plaintiffs from the 2016

                                                                    Beaufort Sea ITR appears nearly verbatim in the 2021 ITR, despite what Plaintiffs’ claim



                                                                           72
                                                                                16 U.S.C. § 1371(a)(5)(A)(i) (emphasis added).
                                                                           73
                                                                                556 U.S. 502 (2009); Dkt. 31 at 16-20.
                                                                           74
                                                                                467 U.S. at 843.
                                                                           75
                                                                                Sierra Club v. BLM, 786 F.3d 1219, 1226 (9th Cir. 2015).
                                                                           76
                                                                                BSITR0002428 (emphasis added).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    20


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 28 of 58
                                                                    is a “reversal in policy” in the 2021 ITR. 77 Also like the 2021 ITR, the 2016 ITR

                                                                    repeatedly used annual metrics to reach the “small numbers” determination. 78 Similarly,

                                                                    in the 2011 Beaufort Sea ITR, the Service’s “small numbers” finding is based on the

                                                                    Service’s determination that previous takes “average[d] 66 occurrences per year”

                                                                    (intentional deterrence and incidental Level B harassment combined) and that takes

                                                                    during the 2011-16 period “will not exceed 150 per year.” 79 The Service also based its

                                                                    2013-18 Chukchi Sea ITR on estimated annual take: “The estimated total Level B
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                                                                    incidental take for polar bears is expected to be 25 animals per year.... This number is
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                                                                    less than 1 percent of the estimated combined populations of the CS and SBS polar bear
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                                                                    stocks (approximately 2,000 and 1,500, respectively).” 80 The Chukchi ITR’s “small

                                                                    numbers” finding explained that “[o]verall, these takes (25 annually) are not expected to

                                                                    result in adverse effects that will influence population-level reproduction, recruitment, or




                                                                           77
                                                                              Compare Dkt. 31 at 17-18 (quoting 2016-21 ITR), with BSITR0002422 (“We
                                                                    conclude that over the 5-year period of this ITR, Industry activities will result in a
                                                                    similarly small number of incidental harassments of polar bears.”).
                                                                           78
                                                                             See BSITR0013793 (small numbers finding relying on annual observations and
                                                                    estimated takes “per year”); BSITR0013775 (considering Alaska native subsistence
                                                                    harvest of 36 to 20 SBS polar bears annually).
                                                                            76 Fed. Reg. at 47,041 (emphasis added); see also id. at 47,039 (concluding
                                                                           79

                                                                    only small numbers of polar bears will be taken based on the annual distribution and
                                                                    abundance of polar bears in the Beaufort Sea ITR region).
                                                                           80
                                                                                78 Fed. Reg. 35,364, 35,400-01 (June 12, 2013) (emphasis added).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    21


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                                                                    survival.” 81 Finally, Plaintiffs ignore that the Service’s sister agency, NMFS, also

                                                                    calculates “small numbers” in ITRs using annual take as a percentage of the population. 82

                                                                    Plaintiffs’ “reversal in policy” arguments should therefore be rejected.

                                                                           In sum, in the absence of statutory direction, the Service, as the expert agency,

                                                                    may determine whether it will evaluate “small numbers” on an annual basis or by any

                                                                    other rational method. The Service’s reasoned application here is fully consistent with the

                                                                    MMPA and prior case law, and is entitled to deference. 83
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                                                                    B.     Plaintiffs’ Arguments About Level A Harassment Should Be Rejected.
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                                                                           Plaintiffs assert a series of three arguments that collectively amount to a challenge
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                                                                    to the Service’s determinations regarding the potential for Level A harassment. 84 In

                                                                    asserting these arguments, Plaintiffs do not dispute that the Service used the “best




                                                                           81
                                                                             Id. at 35,401 (emphasis added). Plaintiffs’ arguments about the 2013 Chukchi
                                                                    ITR misleadingly rely on a response to comment taken out of context, not the actual
                                                                    findings made by the Service.
                                                                           82
                                                                             See 84 Fed Reg. 37,442, 37,491 (July 31, 2019) (Cook Inlet ITR); 84 Fed. Reg.
                                                                    46,788, 46,817 (Sept. 5, 2019) (ITR for Alaska Fisheries Science Center); 81 Fed. Reg.
                                                                    47,240, 47,269 (July 20, 2016) (Cook Inlet ITR); 78 Fed. Reg. 75,488, 75,503 (Dec. 12,
                                                                    2013) (Beaufort Sea ITR).
                                                                           83
                                                                              See Salazar, 695 F.3d at 907-08 (upholding “small numbers” finding); Native
                                                                    Vill. of Chickaloon, 947 F. Supp. 2d at 1052 (same); Alaska Wilderness League, 116 F.
                                                                    Supp. 3d at 970 (finding the Service “presented a reasoned analysis for its small numbers
                                                                    determination based on the record before it”).
                                                                           84
                                                                                Dkt. 31 at 20-33.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    available scientific information.” 85 They do not identify any information that the Service

                                                                    did not consider, including the information they provided from their contracted

                                                                    consultant, which was rationally addressed by the Service in its responses to comments.

                                                                    Plaintiffs do not dispute that in none of the previous nine Beaufort Sea ITRs (or the three

                                                                    Chukchi Sea ITRs) did the Service see fit to authorize Level A harassment. Nor was that

                                                                    decision challenged in any of Plaintiffs’ three previous (unsuccessful) challenges to prior

                                                                    ITRs.
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                                                                            Plaintiffs ultimately just disagree with the Service’s rational interpretations of the
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                                                                    MMPA and its own regulations (such as the definition of “negligible impact”), its choice
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                                                                    of methods for evaluating indisputably technical and scientific information, and its

                                                                    interpretation of the results of its own modeling and methods. But the Service is entitled

                                                                    to deference both when it reasonably interprets and administers a statute and its own

                                                                    implementing regulations and “when the agency is making predictions, within its area of

                                                                    special expertise, at the frontiers of science.” 86 Plaintiffs’ arguments should be rejected.




                                                                            85
                                                                                 50 C.F.R. § 18.27(e)(2).
                                                                             Ariz. Cattle Growers’ Ass’n v. U.S. Fish & Wildlife, 273 F.3d 1229, 1236 (9th
                                                                            86

                                                                    Cir. 2001) (internal quotation marks and citation omitted).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    23


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                                                                           1.       The Service Used a Reasonable Method for Evaluating Whether
                                                                                    Certain Types of Harassment Would Have Effects on Annual Rates of
                                                                                    Recruitment or Survival.

                                                                           Plaintiffs contend that the Service’s consideration of “serious” and “non-serious”

                                                                    Level A harassment was an unlawful effort to “conceal the high probability of Level A

                                                                    harassment occurring.” 87 Initially, Plaintiffs provide no evidence of the Service’s

                                                                    supposed plot to “conceal” information. “[M]ere allegations of bad faith are inadequate to

                                                                    overcome the presumption of regularity accorded to agency action.” 88 Besides, the facts
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                                                                    contradict Plaintiffs’ accusation. In the proposed and final rules, the Service “provided all
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                                                                    of the output data from the simulations as part of the proposed rule to be transparent and
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                                                                    allow commenters to see for themselves where take comes from.” 89 Transparently

                                                                    disclosing all modeling methods, analyses, and results in great detail is not “concealing”

                                                                    information. 90

                                                                           Plaintiffs’ baseless allegation aside, their complaint merely disagrees with the

                                                                    Service’s interpretation and application of the MMPA and its own regulations. Plaintiffs

                                                                    claim the Service cannot distinguish between types of Level A harassment because the

                                                                    MMPA does not expressly do so and that “agencies ‘are not free to add text to a statute


                                                                           87
                                                                                Dkt. 31 at 20.
                                                                           88
                                                                             Mayor & City Council of Baltimore v. Trump, 429 F. Supp. 3d 128, 138 (D. Md.
                                                                    2019) (citing Mullins v. U.S. Dep’t of Energy, 50 F.3d 990, 993 (Fed. Cir. 1995)).
                                                                           89
                                                                                BSITR0002427.
                                                                           90
                                                                                BSITR0002397-2416.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    that is not there.’” 91 But Plaintiffs omit the context for this quote. The case cited by

                                                                    Plaintiffs actually states that courts (not agencies) may not “add text to a statute.” 92

                                                                    Agencies, on the other hand, are routinely called upon to fill gaps in statutes left

                                                                    implicitly or explicitly by Congress. 93 This is a basic tenet of administrative law. 94

                                                                           Here, in the absence of a statutory definition for “negligible impact,” the Service

                                                                    implemented a regulation (not challenged by Plaintiffs) defining “negligible impact” as

                                                                    “an impact resulting from the specified activity that cannot be reasonably expected to,
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                                                                    and is not reasonably likely to, adversely affect the species or stock through effects on
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                                                                    annual rates of recruitment or survival.” 95 In its evaluation of AOGA’s petition, the
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                                                                    Service analyzed potential effects on “annual rates of recruitment or survival” by

                                                                    considering the potential for both “non-serious” and “serious” Level A harassment

                                                                    because “[n]ot all Level A harassment events affect annual rates of survival.” 96




                                                                           91
                                                                             Dkt. 31 at 21 (quoting United States v. Washington, 994 F.3d 994, 1016 (9th
                                                                    Cir. 2021)).
                                                                           92
                                                                                Washington, 994 F.3d at 1016 (court’s use of “we,” not “agencies”).
                                                                           93
                                                                                Chevron, 467 U.S. at 843-44 (citing Morton v. Ruiz, 415 U.S. 199, 231 (1974)).
                                                                           94
                                                                             Id. at 843 (“[T]he question for the court is whether the agency’s answer is based
                                                                    on a permissible construction of the statute”); Cuozzo Speed Techs., LLC v. Lee, 579 U.S.
                                                                    261, 276-77 (2016).
                                                                           95
                                                                                50 C.F.R. § 18.27(c).
                                                                           96
                                                                                BSITR0002430, 2396.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    25


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                                                                           Categorizing “serious” Level A harassment “as an injury that is likely to result in

                                                                    mortality” (and thus affect “annual rates of recruitment or survival”) is not novel. 97 The

                                                                    term “serious injury” repeatedly appears in the MMPA and is a specific metric that both

                                                                    the Service and NMFS must address as part of the annual stock assessment reporting

                                                                    process. 98 It is also a specific term used in the regulatory guidelines for safely deterring

                                                                    polar bears. 99 NMFS has defined the term by regulation—“[s]erious injury means any

                                                                    injury that will likely result in mortality” 100—and has also used this criterion when
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                                                                    evaluating “negligible impact” for purposes of issuing ITRs. 101 Moreover, courts have
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                                                                    upheld the use of comparable measures in similar circumstances. 102
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                                                                           Although Plaintiffs’ consultant would have preferred the Service to lump together

                                                                    different types of impacts, the Service’s more-informed approach allowed for a refined

                                                                    evaluation of the types of effects that either would or would not affect “annual rates of

                                                                    recruitment or survival.” “[A]n agency must have discretion to rely on the reasonable




                                                                           97
                                                                                BSITR0002430.
                                                                           98
                                                                                See 16 U.S.C. § 1386.
                                                                           99
                                                                                See 50 C.F.R. § 18.34.
                                                                           100
                                                                                 50 C.F.R. § 216.3.
                                                                           101
                                                                                 See BSITR0015685-86 (ITR for Liberty Project).
                                                                           102
                                                                               See, e.g., Humane Soc’y of U.S. v. Bryson, 924 F. Supp. 2d 1228, 1244-46 (D.
                                                                    Or. 2013) (upholding NMFS’s use of “significant negative impact” criterium even though
                                                                    it is undefined in the ESA and MMPA).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    26


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                                                                    opinions of its own qualified experts....” 103 The Service’s method for evaluating the

                                                                    potential for both “serious” and “non-serious” Level A harassment is reasonable and

                                                                    entitled to deference.

                                                                           2.       The Service’s “Negligible Impact” Determination Is Well-Supported
                                                                                    and Consistent with Law.

                                                                           Plaintiffs next allege that the Service “refused to consider” and “failed to evaluate”

                                                                    potential impacts from serious and non-serious Level A harassment in reaching its

                                                                    “negligible impact” determination. 104 But the Service plainly did “consider” and
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                                                                    “evaluate” potential Level A harassment effects, as evidenced by the pages of modeling
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                                                                    analyses and reporting in the Final Rule—i.e., the very results Plaintiffs use as the basis
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                                                                    for their claim. 105 “A negligible impact finding is arbitrary and capricious under the

                                                                    MMPA only if the agency[, inter alia,] … entirely failed to consider an important aspect

                                                                    of the problem….” 106 Here, there is no aspect of the problem that was not considered by

                                                                    the Service, and Plaintiffs’ challenge to the Service’s well-supported and reasoned

                                                                    “negligible impact” finding should be denied on this basis alone.



                                                                             Tongass Conservation Soc’y v. U.S. Forest Serv., No. 3:010-CV-00006-TMB,
                                                                           103

                                                                    2010 WL 11534489, at *2 (D. Alaska Mar. 8, 2010) (quoting Lands Council v. McNair,
                                                                    537 F.3d 981, 1000 (9th Cir. 2008)), aff’d, 385 F. App’x 708 (9th Cir. 2010).
                                                                           104
                                                                                 Dkt. 31 at 23.
                                                                           105
                                                                                 BSITR0002397-2416.
                                                                           106
                                                                              Kempthorne, 588 F.3d at 710 (brackets and ellipses in original; internal
                                                                    quotation marks and citation omitted).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    27


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                                                                           Nonetheless, Plaintiffs’ contention is just a disagreement with the Service’s

                                                                    scientific assessment and interpretation of the results of its own model. Plaintiffs believe

                                                                    the Service should have concluded there would be one annual polar bear Level A

                                                                    harassment whereas the Service determined it was more likely there would be zero

                                                                    annual Level A harassments. Plaintiffs’ argument reflects a classic disagreement with an

                                                                    expert agency’s technical assessments and determinations for which “traditional

                                                                    deference to the agency is at its highest.” 107 Plaintiffs’ argument should also be rejected
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                                                                    for this and the following reasons.
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                                                                           Plaintiffs’ claim centers on the Service’s assessment of the potential impacts of
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                                                                    industry activities on denning bears and their cubs. This topic is not new to the Service or

                                                                    the courts. In its opinion upholding the 2006 Beaufort Sea ITR, the Ninth Circuit

                                                                    explained:

                                                                                    [F]rom 1993 to 2004, there were more than 700 sightings of
                                                                                    polar bears related to industrial activities. More recently,
                                                                                    sightings have increased. Production facilities may negatively
                                                                                    affect denning females, with industrial noise causing females
                                                                                    to abandon their dens prematurely and endanger their
                                                                                    offspring. However, industrial noise-producing activity may
                                                                                    need to be very close to the den to cause such a response, and
                                                                                    bears may even acclimate to such noises. The Service found
                                                                                    that the impact would likely be consistent with that during
                                                                                    previous periods of regulation. The impact would be
                                                                                    negligible....

                                                                                           ….
                                                                           107
                                                                                 Locke, 776 F.3d at 994.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    28


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                                                                                    [T]he seriousness of industrial disturbance impacts is subject
                                                                                    to legitimate scientific dispute.[108]

                                                                    In the present ITR, the Service evaluated these potential effects and reached a negligible

                                                                    impact determination based on multiple factors and lines of evidence—e.g., “the best

                                                                    scientific information available, the results of Industry monitoring data from previous

                                                                    ITRs, the review of the information generated by the listing of the polar bear as a

                                                                    threatened species and the designation of polar bear critical habitat, the results of [its]
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                                                                    modeling, and the status of the species and stocks.” 109 Plaintiffs single out, and disagree
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                                                                    with, one of the factors considered by the Service—the results of its modeling.
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                                                                           The crux of Plaintiffs’ disagreement is that they think the Service should have

                                                                    used the statistical mean result of the model, which showed a potential for 1.2 annual

                                                                    Level A polar bear harassments, instead of the statistical median result of the model,

                                                                    which showed 0.0 annual Level A polar bear harassments. But the Service explained that

                                                                    a heavy skew in the data—showing a “high number of iterations where 0 take is

                                                                    estimated” 110—“led to a mean value that is not representative of the most common model

                                                                    result.” 111 The Service further explained:



                                                                           108
                                                                                 Kempthorne, 588 F.3d at 706, 711 (deferring to Service and upholding ITRs).
                                                                           109
                                                                                 BSITR0002423.
                                                                           110
                                                                                 BSITR0002427.
                                                                           111
                                                                                 BSITR0002414.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    29


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                                                                                    We disagree that the mean is the appropriate metric to
                                                                                    consider when estimating the expected level of take
                                                                                    associated with the proposed activities. Means are the
                                                                                    appropriate measure of central tendency when data are
                                                                                    normally distributed or some other symmetric distribution. In
                                                                                    these cases, the mean and median are nearly the same.
                                                                                    However, when the data are significantly skewed, as our
                                                                                    results are, the median is a more appropriate informative
                                                                                    measure of the central tendency in the data.[112]

                                                                    Although Plaintiffs would have interpreted the data differently, the Service is the expert

                                                                    agency, its explanation is rational, and it is entitled to deference on this technical issue. 113
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                                                                    All of Plaintiffs’ Level A arguments hinge on this single statistical disagreement and
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                                                                    should therefore be denied.
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                                                                           Plaintiffs next argue, relying solely on the mean 46% probability of Level A

                                                                    harassment occurring in each year of the ITR, that the Service misapplied its regulatory

                                                                    definition for “negligible impact” because this percentage reflects a “reasonably likely”

                                                                    occurrence. 114 But this argument continues to ignore the fact that the Service determined

                                                                    the median modeling result was more representative than the mean when predicting the

                                                                    likelihood of Level A harassment. Plaintiffs also ignore the other factors considered by


                                                                           112
                                                                                 BSITR0002427.
                                                                           113
                                                                               See Ariz. Cattle Growers’, 273 F.3d at 1236 (“Deference is particularly
                                                                    important when the agency is making predictions, within its area of special expertise, at
                                                                    the frontiers of science.” (internal quotation marks and citation omitted)); Tongass
                                                                    Conservation Soc’y, 2010 WL 11534489, at *2 (“[A]n agency must have discretion to
                                                                    rely on the reasonable opinions of its own qualified experts….”).
                                                                           114
                                                                                 Dkt. 31 at 23.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    30


                                                                         Case 3:21-cv-00209-SLG-KFR Document 43 Filed 07/01/22 Page 38 of 58
                                                                    the Service in reaching its conclusion, such as the lack of observed Level A harassment

                                                                    over many years of monitoring reports, 115 the fact that the model does not consider the

                                                                    beneficial effects of mitigation measures that “may further reduce the probability of den

                                                                    disturbance,” 116 and the fact that the model represents the “most impactful scenario that

                                                                    was possible” by relying on certain conservative assumptions. 117 Moreover, Plaintiffs

                                                                    misconstrue the Service’s regulation in contending that it required the Service to

                                                                    determine whether “take is ‘reasonably likely’ to occur” based on a single metric (mean
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                                                                    probability). In contrast, the Service properly considered all available information to
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                                                                    make a reasoned determination that, as the regulation states, the anticipated “impact” “is
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                                                                    not reasonably likely to adversely affect ... annual rates of recruitment and survival.” 118

                                                                           Next, Plaintiffs—having relied on the Service’s “negligible impact” definition

                                                                    (albeit a misconstrued version) to advance their “reasonably likely” argument—argue that

                                                                    the regulation’s rationale “violates the plain language of the MMPA.” 119 They contend


                                                                           115
                                                                                 See BSITR0002423, 2396, 2433.
                                                                           116
                                                                               See BSITR0002430 (“While the Service is always concerned with any potential
                                                                    for mortality to cubs, it has worked with the applicant to integrate numerous mitigation
                                                                    measures to further reduce the potential for such events, and it does not reasonably expect
                                                                    such events to affect annual rates of recruitment or survival.”); BSITR0002450 (“ITRs
                                                                    establish important mitigation measures and provide significant conservation benefits to
                                                                    polar bears….”).
                                                                           117
                                                                                 BSITR0002414.
                                                                           118
                                                                                 Dkt. 31 at 23 (citing 50 C.F.R. § 18.27(c)); see Dkt. 38 at 24-28.
                                                                           119
                                                                                 Dkt. 31 at 27-28.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    that the Service was required by the MMPA to sum the mean results of its model over the

                                                                    entire five-year period to make its “negligible impact” determination. 120 But Plaintiffs

                                                                    have asserted no claim challenging the Service’s “negligible impact” definition, which

                                                                    requires the Service to consider whether the anticipated impact is “reasonably likely to[]

                                                                    adversely affect ... annual rates of recruitment or survival.” 121 The MMPA does not

                                                                    dictate how the Service must evaluate “negligible impact,” and the Service’s

                                                                    (unchallenged) regulatory definition reasonably answers that question. For all of the
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                                                                    reasons explained by the Federal Defendants, the Service reasonably applied its own
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                                                                    regulation and was not required to myopically premise its “negligible impact”
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                                                                    determination on a single summed metric over all five years. 122

                                                                           Leaving no stone unturned, Plaintiffs also criticize the Service’s scientific

                                                                    assessment of situations giving rise to potential non-serious Level A harassment, arguing

                                                                    that the Service somehow “flipped the burden of proof” by candidly recognizing that

                                                                    there are “currently no data to support that an early departure from the den itself leads to

                                                                    reduced survival.” 123 But the Service thoroughly addressed all of the best available



                                                                           120
                                                                                 Id.
                                                                           121
                                                                                 50 C.F.R. § 18.27(c) (emphasis added).
                                                                           122
                                                                                 See Dkt. 38 at 28-31.
                                                                           123
                                                                               BSITR0002436; see also BSITR0002437-38 (“[N]o studies have demonstrated
                                                                    that cub size influences when a disturbance elicits an early emergence, and no studies
                                                                                                                                                  (continued . . .)

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
                                                                    Case No. 3:21-cv-00209-SLG                    32


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                                                                    scientific information on this issue, explained its conclusions, and reasonably responded

                                                                    to comments. 124 Additionally, ITRs are “established based on the best available scientific

                                                                    information” and “[a]s new information is developed, through monitoring, reporting, or

                                                                    research, the regulations may be modified, in whole or in part, after notice and

                                                                    opportunity for public review.” 125 The Service was not obligated to conduct a multi-year

                                                                    study to collect more data before issuing the ITR, as Plaintiffs imply. 126

                                                                           Ultimately, Plaintiffs disagree with the Service’s interpretation of its own
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                                                                    modeling results and the best available scientific information, and the application of its
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                                                                    own regulation. Their fixation on a specific statistic also fails to recognize the other
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                                                                    results of the model (e.g., the median results) and the fact that the modeling was just one

                                                                    of many factors considered by the Service in reaching its “negligible impact”

                                                                    determination. 127 The Service’s “negligible impact” determination is consistent with all




                                                                    have evaluated the relationship between cub size at emergence and survival probability in
                                                                    a manner that would allow us to refine our treatment of early emergences.”).
                                                                           124
                                                                                 BSITR0002436-38, 2440, 2445.
                                                                           125
                                                                                 50 C.F.R. § 18.27(e)(2); 50 C.F.R. § 18.27(b).
                                                                           126
                                                                               Jewell, 747 F.3d at 602 (“[W]here the information is not readily available, we
                                                                    cannot insist on perfection: [T]he best scientific … data available, does not mean the best
                                                                    scientific data possible.” (brackets and ellipsis in original; internal quotation marks and
                                                                    citation omitted); see also Dkt. 38 at 32-33.
                                                                           127
                                                                                 BSITR0002423.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    of the best available information, is fully and rationally explained, and is entitled to

                                                                    deference.

                                                                           3.          The Court Should Reject Plaintiffs’ Attempt to Force the Service to
                                                                                       Authorize Level A Harassment.

                                                                           Finally, Plaintiffs argue that the Service was legally prohibited from issuing the

                                                                    Beaufort ITR because “the MMPA prohibits the authorization of take from an activity

                                                                    when it will cause other, unauthorized take.” 128 This argument is premised on Plaintiffs’

                                                                    erroneous belief that Level A polar bear harassment from the activities addressed in the
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                                                                    Beaufort ITR is “sufficiently ‘certain’” to occur. 129 As set forth above, the Service
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                                                                    rationally and lawfully determined that such harassment is unlikely. This third claim
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                                                                    should be denied on that basis.

                                                                           Plaintiffs’ argument is also fatally flawed because it relies solely on the D.C.

                                                                    Circuit decision in Kokechik Fisherman’s Association 130—a case that was promptly

                                                                    abrogated by Congress within months after it was issued. 131 Kokechik involved a permit

                                                                    issued by NMFS pursuant to 16 U.S.C. §§ 1371(a)(2), 1373, and 1374—as those MMPA

                                                                    provisions existed in 1988—allowing a group of Japanese commercial fishermen to take


                                                                           128
                                                                                 Dkt. 31 at 32.
                                                                           129
                                                                                 Id.
                                                                           130
                                                                              Kokechik Fishermen’s Ass’n v. Sec’y of Commerce, 839 F.2d 795, 810-02
                                                                    (D.C. Cir. 1988).
                                                                             See H.R. Rep. No. 100-970, at 18-20, 37-38, reprinted in 1988 U.S.C.C.A.N.
                                                                           131

                                                                    6154, 6159-61, 6178-79.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    Dall’s porpoises. 132 The record showed that the fishery would also take up to 450 fur

                                                                    seals annually, but NMFS did not authorize any fur seal take and the fur seal population

                                                                    was depleted. 133 In what it described as “a question of pure statutory interpretation,” the

                                                                    court held the permit to be unlawful because the standards of 16 U.S.C. §§ 1371(a)(2),

                                                                    1373, and 1374, along with other related provisions, prevented NMFS from authorizing a

                                                                    commercial fishery to take one species and not another species that it would otherwise

                                                                    indisputably take. 134 In so doing, the court recognized that these stringent standards could
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                                                                    have been avoided if 16 U.S.C. § 1371(a)(5) —the MMPA provision applicable to
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                                                                    AOGA’s petition 135—applied to commercial fisheries. 136 But the court held that “[i]f the
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                                                                    Secretary believes the Act needs amendment, then it is Congress he must address.” 137

                                                                           Congress did just that by promptly enacting a five-year interim exemption for

                                                                    commercial fisheries to allow time for a permanent solution to the Kokechik decision to

                                                                    be developed. 138 In 1994, Congress enacted a permanent replacement to the statutory



                                                                           132
                                                                                 Kokechik, 839 F.2d at 797-98.
                                                                           133
                                                                                 Id. at 801.
                                                                           134
                                                                                 Id. at 799-802.
                                                                           135
                                                                              16 U.S.C. § 1371(a)(5)(A) existed in 1988 in substantively the same form as it
                                                                    currently exists.
                                                                           136
                                                                                 Kokechik, 839 F.2d at 802.
                                                                           137
                                                                                 Id.
                                                                           138
                                                                                 Pub. L. No. 100-711, 102 Stat. 4755 (1988).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    provisions at issue in Kokechik, which established a new statutory scheme governing the

                                                                    incidental take of marine mammals in commercial fisheries. 139 Having addressed

                                                                    statutory provisions that the court expressly distinguished from the provision applicable

                                                                    here, 16 U.S.C. § 1371(a)(5), and which were subsequently removed and replaced by

                                                                    Congress, Kokechik is inapposite.

                                                                           Setting aside the inapplicability of Kokechik, Plaintiffs are, in effect, seeking to

                                                                    force the Service to affirmatively authorize a certain type of take that was neither
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                                                                    requested by AOGA nor found to be likely by the Service. 140 Section 101(a)(5)(A) of the
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                                                                    MMPA only allows for the authorization of take “[u]pon request therefor by citizens of
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                                                                    the United States.” 141 Although Plaintiffs may challenge affirmative authorizations of

                                                                    incidental take issued by the Service (upon request) under the APA, they may not engage

                                                                    in “citizen enforcement of the Act” by using the APA as a guise for forcing the




                                                                           139
                                                                               See 16 U.S.C. § 1387 (Taking of marine mammals incidental to commercial
                                                                    fishing operations); see, e.g., 140 Cong. Rec. S3288-01, S3293 (Mar. 21, 1994); 139
                                                                    Cong. Rec. S15321-01, S15326 (Nov. 8, 1993); S. Rep. 103-220, at 3 (1994), reprinted in
                                                                    1994 U.S.C.C.A.N 518, 520; 80 Fed. Reg. 48,172, 48,173 (Aug. 11, 2015) (discussing
                                                                    effect of Kokechik).
                                                                           140
                                                                              See BSITR0000763 (“Consistent with previous Petitions and ITRs, AOGA
                                                                    does not anticipate, and is not requesting that the 2021 ITRs authorize, Level A
                                                                    harassment of polar bears.”); BSITR0002427.
                                                                           141
                                                                                 16 U.S.C. § 1371(a)(5)(A)(i).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    authorization of take that was never requested “by citizens of the United States” or found

                                                                    to be likely. 142 Plaintiffs’ attempt to do so here should be rejected.

                                                                    C.     The Mitigation Measures Required by the Service Are Reasonable and Fully
                                                                           Explained.

                                                                           In a reprise of arguments rejected in other lawsuits, Plaintiffs are again dissatisfied

                                                                    with the ITR’s mitigation measures. This time, Plaintiffs contend that the Service should

                                                                    have required (i) later start dates for seismic surveys and (ii) expanded exclusion zones

                                                                    around all potentially suitable polar bear denning habitat regardless of whether polar bear
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                                                                    dens are present. 143 These arguments should be rejected for the following reasons.
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                                                                           First, courts have routinely found that agency determinations on the
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                                                                    appropriateness of mitigation measures fall squarely within the agency’s area of special

                                                                    expertise. 144 Indeed, the Ninth Circuit has twice rejected challenges to Arctic ITR

                                                                    mitigation measures, finding that the “the overall record supports the Service’s


                                                                           142
                                                                              See Didrickson v. U.S. Dep’t of Interior, 982 F.2d 1332, 1338 (9th Cir. 1992)
                                                                    (noting “that the MMPA does not provide for citizen enforcement of the Act”); Nat. Res.
                                                                    Defense Council, Inc. v. Evans, 279 F. Supp. 2d 1129, 1142 (N.D. Cal. 2003) (“Citizens
                                                                    challenging actions done under the MMPA must sue under the APA.”).
                                                                           143
                                                                                 Dkt. 31 at 35-36.
                                                                           144
                                                                               See Native Vill. of Chickaloon, 947 F. Supp. 2d at 1060 (“[T]he record reflects
                                                                    that the agency did consider additional time-area restrictions and exercised its expertise to
                                                                    determine that they were not necessary.”); Gaule v. Meade, 402 F. Supp. 2d 1078, 1087
                                                                    (D. Alaska 2005) (with respect to mitigation measures, “[t]he Court is not here to
                                                                    substitute its judgment for that of the agency”); Cook Inletkeeper v. Raimondo, 533 F.
                                                                    Supp. 3d 739, 761 (D. Alaska 2021) (upholding ITR mitigation measures); Alaska
                                                                    Wilderness League, 116 F. Supp. 3d at 967 (same).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    conclusion that the mitigation and monitoring measures are effective.” 145 Plaintiffs’

                                                                    claims here are no different in form than their previous, failed claims.

                                                                           Second, Plaintiffs’ assertion that the Service relied on “a ‘suite’ of less protective

                                                                    mitigation measures” is belied by the record. 146 The current ITR contains the same

                                                                    measures as previous ITRs that have been routinely upheld by this Court and the Ninth

                                                                    Circuit and “have proven to be highly successful in providing for polar bear conservation

                                                                    in Alaska.” 147 Contrary to Plaintiffs’ suggestions, these measures do include spatial and
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                                                                    temporal restrictions that are proven to work, such as one-mile exclusion buffer zones
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                                                                    around known occupied polar bear dens for the duration of the denning season and
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                                                                    restrictions prohibiting vessels from transiting to the Beaufort Sea prior to July 1 in order

                                                                    to minimize impacts to walruses and subsistence hunters. 148 The ITR also contains new,




                                                                           145
                                                                              Salazar, 695 F.3d at 908; see also Kempthorne, 588 F.3d at 712 (“[T]he EA
                                                                    provides convincing reasons to believe that incidental take regulations will ameliorate the
                                                                    impact of takes. LOAs include mitigating guidelines that minimize disturbances to,
                                                                    among other things, denning females.”).
                                                                           146
                                                                                 Dkt. 31 at 38.
                                                                           147
                                                                              BSITR0008266; Salazar, 695 F.3d at 908 (quoting same); see, e.g., 75 Fed.
                                                                    Reg. 76,086, 76,118-19 (Dec. 7, 2010) (“These mitigation measures are implemented to
                                                                    limit human-bear interactions and disturbances to bears and have ensured that industry
                                                                    effects on polar bears have remained at the negligible level.”); see supra § II.B.
                                                                           148
                                                                              BSITR0002455-56, 2451; see BSITR0002278 (noting the ITRs “impose certain
                                                                    mitigation and monitoring requirements such as spatial and temporary restrictions and
                                                                    AIR surveys”); see BSITR0000860-74 (documenting effectiveness of measures in six
                                                                    known instances of polar bear denning near facilities).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    more stringent measures, such as enhanced polar bear den detection protocols, requiring

                                                                    up to three aerial infrared surveys to locate polar bear dens. 149

                                                                           Third, the sole basis for Plaintiffs’ proposed measures is a draft IHA that was

                                                                    never issued for a proposed Kaktovik Iñupiat Corporation seismic survey in ANWR’s

                                                                    Coastal Plain. 150 Moreover, ANWR is very different than the Beaufort ITR region. For

                                                                    example, ANWR contains a much higher density of denning bears than the Beaufort Sea

                                                                    ITR region. 151 Numerous peer-reviewed studies—including those authored by scientists
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                                                                    cited by Plaintiffs—observe higher proportions of polar bear denning habitat and actual
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                                                                    polar bear dens in ANWR than in the rest of the mainland coast on the North Slope. 152
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                                                                    Additionally, as the Service explained in detail, imposing measures for a specifically

                                                                    identified seismic survey in a relatively smaller region with higher polar bear den density

                                                                    is a far different task than creating practicable measures for a multi-year programmatic



                                                                           149
                                                                                 BSITR0002455, 2443.
                                                                           150
                                                                               See Dkt. 31 at 35-39; BSITR0016622, 16626-29, 16650, 16655. The Service
                                                                    has not issued an IHA for any seismic surveys in ANWR. See List of Incidental
                                                                    Harassment Authorizations in Alaska, U.S. Fish & Wildlife Serv.,
                                                                    https://www.fws.gov/node/265192 (last visited June 30, 2022).
                                                                             BSITR0018580 (“ANWR and its Coastal Plain serves [sic] as high-density
                                                                           151

                                                                    denning areas,” and “are not included in the [Beaufort Sea] ITR region.”); see also
                                                                    BSITR0002385 (noting prevalence of maternal polar bear dens in the 1002 area of
                                                                    ANWR’s Coastal Plain).
                                                                           152
                                                                               See BSITR0004747 (“Polar bears denned on ANWR and the 1002 area more
                                                                    frequently than would have been expected if they denned uniformly along the mainland
                                                                    coast.”); BSITR0007251-52, 4765-67.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    ITR addressing a variety of activities (including potential seismic surveys of uncertain

                                                                    timing or location) spread across a large area with existing infrastructure and facilities. 153

                                                                           Fourth, Plaintiffs’ criticism of the ITR term providing that the Service “retains

                                                                    discretion to impose additional mitigation measures on an activity-specific basis through

                                                                    the LOA process” is baseless. 154 This Court already rejected this argument in Alaska

                                                                    Wilderness League, holding that the Service can impose additional mitigation measures

                                                                    through the LOA process. 155
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                                                                           Finally, the Service fully explained why a one-mile buffer around all potentially
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                                                                    suitable polar bear denning habitat (as opposed to known or putative dens) is
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                                                                    impracticable. 156 Indeed, the terrestrial denning habitat designated as “critical habitat”

                                                                    alone spans over 5,600 square miles. 157 And with respect to survey start dates, the Service

                                                                    “worked with the applicant to identify areas of high denning density and incorporate[d]



                                                                           153
                                                                                 See BSITR0001002, 2414, 2392-93, 0630.
                                                                           154
                                                                                 BSITR0002448 (emphasis added).
                                                                           155
                                                                                 116 F. Supp. 3d at 967.
                                                                           156
                                                                               See BSITR0002424 (“One mile buffer around all known polar bear denning
                                                                    habitat is not practicable as many existing operations occur within denning habitat and it
                                                                    would not be able to shut down all operations based on other regulatory and safety
                                                                    requirements.”); see also BSITR0002448 (“Proper denning habitat requires the creation
                                                                    of snow drifts, which can differ from year-to-year as it is based on terrain and weather
                                                                    conditions. The ability to identify areas in which these snow drifts may occur each year
                                                                    prior to operations is not practicable.”); see also BSITR0015451.
                                                                           157
                                                                                 75 Fed. Reg. at 76,121.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    later start dates for seismic activity in this region,” 158 in this case, no earlier than January

                                                                    1, but potentially later depending upon when the third aerial infrared survey is

                                                                    completed. 159

                                                                           In sum, the Service’s well-considered judgment on the scope of appropriate

                                                                    mitigation measures is a decision falling squarely within the agency’s technical expertise.

                                                                    The Court should decline Plaintiffs’ invitation to second-guess measures that will “reduce

                                                                    interactions between project activities [and] polar bears” 160 and “have proven to be highly
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                                                                    successful in providing for polar bear conservation in Alaska.” 161
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                                                                    D.     The Environmental Assessment Considers a Reasonable Range of
                                                                           Alternatives.
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                                                                           Plaintiffs repackage their mitigation arguments to assert that the Service’s

                                                                    Environmental Assessment (“EA”) failed to consider a reasonable range of alternatives

                                                                    under NEPA because it did not evaluate an alternative with Plaintiffs’ preferred

                                                                    measures. 162 This argument was already rejected by the Ninth Circuit in Plaintiffs’ prior

                                                                    unsuccessful challenge to the Chukchi Sea ITR, where they argued that “the EA fails to



                                                                           158
                                                                                 BSITR0002447.
                                                                             BSITR0002412; see BSITR0002455 (a third AIR survey must be completed
                                                                           159

                                                                    between December 15 and January 15 prior to any seismic survey activity).
                                                                           160
                                                                                 BSITR0002277.
                                                                           161
                                                                                 BSITR0008266; Salazar, 695 F.3d at 908 (quoting same).
                                                                           162
                                                                                 Dkt. 31 at 39-40.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    analyze other reasonable alternatives, such as imposing additional mitigation measures

                                                                    recommended by Service scientists, or excluding key habitat areas from the geographic

                                                                    scope of the regulations.” 163 The argument should be rejected, just as it was in Salazar. 164

                                                                    Moreover, “an agency’s obligation to consider alternatives under an EA is a lesser one

                                                                    than under an EIS.” 165 An EA need only “[b]riefly discuss” reasonable alternatives, 166

                                                                    and the Ninth Circuit routinely upholds EAs that consider only two alternatives. 167 Here,

                                                                    as in past cases, the Service “adequately developed and analyzed its proposed mitigation
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                                                                    measures in the EA to a reasonable degree as required by law.” 168 Plaintiffs’ NEPA claim
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                                                                    should therefore be rejected.
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                                                                           163
                                                                                 Salazar, 695 F.3d at 916.
                                                                           164
                                                                               See id.; see also BSITR0018579, 18588-89 (Service’s explanations for
                                                                    rejecting alternatives suggested by Plaintiffs).
                                                                           165
                                                                              Salazar, 695 F.3d at 915 (quoting Native Ecosystems Council v. U.S. Forest
                                                                    Serv., 428 F.3d 1233, 1246 (9th Cir. 2005))
                                                                           166
                                                                               40 C.F.R. § 1501.5(c)(2); Salazar, 695 F.3d at 916 (“[A]n EA need only
                                                                    include a ‘brief discussion[ ]’ of reasonable alternatives….” (brackets and citation
                                                                    omitted)).
                                                                           167
                                                                               See Salazar, 695 F.3d at 915-16 (“The Service’s EA in this case analyzes two
                                                                    alternatives: a no-action alternative and the proposed incidental take regulations…. We
                                                                    have previously upheld EAs that gave detailed consideration to only two alternatives.”)
                                                                    (citing N. Idaho Cmty. Action Network v. U.S. Dep’t of Transp., 545 F.3d 1147, 1154 (9th
                                                                    Cir. 2008)); see also Native Ecosystems, 428 F.3d at 1246.
                                                                           168
                                                                               Alaska Wilderness League, 116 F. Supp. 3d at 971 (internal quotation marks
                                                                    and citation omitted); see also Salazar, 695 F.3d at 916 (“[T]he Service’s alternatives
                                                                    analysis here is not arbitrary and capricious.”).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    E.     The Biological Opinion Complies with the ESA.

                                                                           Plaintiffs contend that the Service’s Biological Opinion (“BiOp”) violates the ESA

                                                                    by allegedly (i) failing to account for Level A harassment that was reasonably certain to

                                                                    occur, and (ii) allowing the Service to reinitiate consultation at its discretion. 169 Both of

                                                                    these claims are without merit.

                                                                           As addressed in Section IV.B, supra, the Service’s determination that Level A

                                                                    harassment is not likely to occur is well-supported, fully explained, and entitled to
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                                                                    deference. For this reason alone, Plaintiffs’ first ESA claim should be denied.
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                                                                    Additionally, Plaintiffs’ claim misunderstands the “agency action” considered by the
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                                                                    BiOp. Here, the “agency action” is the Service’s issuance of the ITR, not the

                                                                    authorization of any activities that may receive a take authorization under the ITR. 170 The

                                                                    ITR does not authorize any Level A harassment and, accordingly, Level A harassment

                                                                    cannot be specified in the ITS as an “impact” of the “agency action.” 171

                                                                           Plaintiffs’ second ESA claim fares no better as the BiOp and regulations make

                                                                    clear that reinitiation of consultation is not discretionary. Plaintiffs argue to the contrary



                                                                           169
                                                                                 Dkt. 31 at 41-43.
                                                                           170
                                                                               See BSITR0002428 (“No Level A harassment or lethal take is estimated as a
                                                                    result of the proposed activities, and none is authorized by this ITR.”); BSITR0002423
                                                                    (“This regulation does not authorize lethal take, and we do not anticipate any lethal take
                                                                    will occur.”); BSITR0002333-24 (ITS).
                                                                           171
                                                                                 See 16 U.S.C. § 1536(a)(2), (b)(4).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    by cherry-picking the phrase “may be required” from the BiOp. But Plaintiffs overlook

                                                                    the fact that the ESA implementing regulations already require reinitiation of

                                                                    consultation if the amount of take specified in the ITS is exceeded during the course of

                                                                    the action. 172 And Plaintiffs ignore the context of the “may be required” language, as the

                                                                    very same page of the BiOp unequivocally requires that the Service “shall reinitiate

                                                                    section 7 consultation within 7 days” in the event that the amount of authorized take is

                                                                    exceeded. 173 The BiOp also states that reinitiation is “non-discretionary” when take is
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                                                                    exceeded. 174 Plainly, both the regulations and the BiOp require reinitiation of
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                                                                    consultation if the amount of incidental take specified in the ITS is exceeded. Plaintiffs’
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                                                                    arguments should be rejected. 175




                                                                           172
                                                                               See 50 C.F.R. § 402.14(i)(4) (“If during the course of the action the amount or
                                                                    extent of incidental taking, as specified under paragraph (i)(1)(i) of this Section, is
                                                                    exceeded, the Federal agency must reinitiate consultation immediately.”).
                                                                           173
                                                                                 BSITR0002335 (emphasis added).
                                                                           174
                                                                                 Id.
                                                                           175
                                                                               See Friends of Se.’s Future v. Morrison, 153 F.3d 1059, 1063 (9th Cir. 1998)
                                                                    (“[W]e may not fly-speck the document and hold it insufficient on the basis of
                                                                    inconsequential, technical deficiencies….” (ellipsis in original; internal quotation marks
                                                                    and citation omitted)); Wilderness Watch, Inc. v. Creachbaum, 225 F. Supp. 3d 1192,
                                                                    1207 (W.D. Wash. 2016) (refusing to “engage in a ‘magic words review,’ where the
                                                                    propriety of the Park Service’s analysis hinges on whether it included the correct words
                                                                    in its [Minimum Requirements Worksheets], rather than whether its analysis carried the
                                                                    substantive weight arbitrary and capricious review demands”), aff’d, 731 F. App’x 709
                                                                    (9th Cir. 2018).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    F.     Vacatur Is Not the Appropriate Remedy.

                                                                           Plaintiffs request that the Court vacate “the ITR, and all LOAs issued pursuant to

                                                                    it, as well as the EA, FONSI, and BiOp.” 176 If this Court finds any merit in Plaintiffs’

                                                                    claims, AOGA respectfully requests the opportunity to address the scope of the

                                                                    appropriate remedy more fully through supplemental briefing. It is not feasible to fully

                                                                    address what may be an appropriate remedy without knowing to what extent and on what

                                                                    basis the Court may find any merit in Plaintiffs’ contentions.
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                                                                           In any event, vacatur is not warranted in this case. Although an agency action that
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                                                                    is held to be unlawful can be set aside under the APA, 177 vacatur is “a species of
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                                                                    equitable relief,” and “courts are not mechanically obligated to vacate agency decisions

                                                                    that they find invalid.” 178 “Whether agency action should be vacated depends on how

                                                                    serious the agency’s errors are ‘and the disruptive consequences of an interim change that

                                                                    may itself be changed.’” 179 The Ninth Circuit has made clear that in considering whether


                                                                           176
                                                                                 Dkt. 31 at 44.
                                                                           177
                                                                               5 U.S.C. § 706(2)(A).
                                                                           178
                                                                               Pac. Rivers Council v. U.S. Forest Serv., 942 F. Supp. 2d 1014, 1017 (E.D. Cal.
                                                                    2013); see also Nat’l Wildlife Fed’n v. Espy, 45 F.3d 1337, 1343 (9th Cir. 1995)
                                                                    (“Although the district court has power to do so, it is not required to set aside every
                                                                    unlawful agency action.” (emphasis added)); Idaho Farm Bureau Fed’n v. Babbitt, 58
                                                                    F.3d 1392, 1405 (9th Cir. 1995) (“[W]hen equity demands, the regulation can be left in
                                                                    place while the agency follows the necessary procedures.”).
                                                                           179
                                                                               Cal. Cmtys. Against Toxics v. U.S. EPA, 688 F.3d 989, 993 (9th Cir. 2012)
                                                                    (quoting Allied-Signal, Inc. v. U.S. Nuclear Regul. Comm’n, 988 F.2d 146, 150-51 (D.C.
                                                                    Cir. 1993)).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    vacatur is appropriate, courts should consider economic and other practical concerns. 180

                                                                    The unifying principle of these applicable precedents is that the remedies awarded must

                                                                    be tailored to the circumstances and equities of each case.

                                                                           As a general matter, vacatur is not warranted here because the violations alleged

                                                                    by Plaintiffs are curable on remand and the overbroad relief requested by Plaintiffs could

                                                                    have highly disruptive consequences. The ITR applies broadly to North Slope

                                                                    exploration, development, production, maintenance, and transportation activities. 181
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                                                                    Vacatur of the ITR could significantly disrupt all of these activities, particularly
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                                                                    considering that North Slope operators have been relying upon the ITR program’s
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                                                                    incidental take authorizations and associated mitigation and monitoring measures for

                                                                    decades. Throwing the product of decades of work by the Service and industry out the

                                                                    window, as Plaintiffs request, could have very significant and adverse consequences—

                                                                    both to industry operators and to polar bears. The ITR is protective of wildlife. Its

                                                                    measures have “proven to be beneficial to the conservation of marine mammals such as

                                                                    the polar bear” 182 and “highly successful in providing for polar bear conservation in




                                                                             Id. at 994 (“[I]f saving a snail warrants judicial restraint, so does saving the
                                                                           180

                                                                    power supply.” (citation omitted)).
                                                                           181
                                                                                 BSITR0002365.
                                                                           182
                                                                                 73 Fed. Reg. at 28,314.

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                    Alaska.” 183 And they are “necessary and advisable to provide for the conservation of the

                                                                    polar bear.” 184 Plaintiffs’ request to vacate these beneficial measures is contrary to every

                                                                    single agency and court conclusion reached about the Arctic ITRs.

                                                                           Plaintiffs also seek vacatur of “all LOAs issued pursuant to” the ITR. 185 However,

                                                                    Plaintiffs have not asserted any claim challenging any LOA. 186 LOAs are separate agency

                                                                    actions supported by separate administrative records that are not presently before the

                                                                    Court. 187 Because the LOAs are not properly before the Court, Plaintiffs’ request for
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                                                                    vacatur of LOAs exceeds the scope of this administrative appeal. This Court has
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                                                                    previously declined requests for relief related to LOAs in similar circumstances, and the
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                                                                    same rationale applies here. 188




                                                                           183
                                                                                 BSITR0008266; Salazar, 695 F.3d at 908 (quoting same).
                                                                           184
                                                                                 In re Polar Bear Endangered Species Act Listing, 818 F. Supp. 2d at 233.
                                                                           185
                                                                                 Dkt. 31 at 44.
                                                                           186
                                                                               See Dkt. 1 ¶¶ 163, 174, 178, 186 (challenging ITR as arbitrary and capricious);
                                                                    id. ¶ 192 (challenging EA and FONSI); id. ¶ 197 (challenging BiOp).
                                                                           187
                                                                              See BSITR0002454-55 (50 C.F.R. §§ 18.122-18.123’s regulatory procedures
                                                                    for obtaining an LOA and criteria for evaluating requests for an LOA).
                                                                           188
                                                                               League v. Jewell, No. 3:15-CV-00067-SLG, 2015 WL 12516787, at *2 (D.
                                                                    Alaska July 23, 2015) (“But the Court finds considerable merit to AOGA’s argument that
                                                                    the invalidation of the LOA that Plaintiffs also seek at this time exceeds the scope of the
                                                                    administrative appeal that was argued by the parties and considered by this Court. This
                                                                    proceeding was focused only on the validity of the ITR. Accordingly, the Court declines
                                                                    to accord injunctive relief pending appeal with respect to the LOA for this reason.”).

                                                                    Alaska Wildlife All., et al. v. U.S. Fish & Wildlife Serv., et al.
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                                                                                                         V. CONCLUSION

                                                                           The ITRs promulgated by the Service have provided a demonstrably successful

                                                                    framework for minimizing interactions between polar bears and the oil and gas industry

                                                                    for 30 years. Building on this success, the current Beaufort Sea ITR contains the most

                                                                    stringent mitigation measures of any Arctic ITRs issued to date. This fourth Arctic ITR

                                                                    lawsuit is just another attempt by Plaintiffs to impede the lawfully conducted or planned

                                                                    oil and gas activities to which they are opposed. The Service’s decisions here are fully
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                                                                    consistent with applicable law and rationally based upon an extensive administrative
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                                                                    record, the best available science, and three decades of practical experience. For all of the
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                                                                    reasons set forth above, AOGA respectfully requests that the Court deny Plaintiffs’

                                                                    motion for summary judgment and grant the Federal Defendants’ and AOGA’s cross-

                                                                    motions for summary judgment.

                                                                     DATED: July 1, 2022.
                                                                                                                STOEL RIVES LLP

                                                                                                                By: /s/ Ryan P. Steen
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                                                                                                                    Association




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                                                                                  CERTIFICATE OF COMPLIANCE WITH WORD LIMITS

                                                                             I certify that this document contains 11,127 words, excluding items exempted by

                                                                    Local Civil Rule 7.4(a)(4), exceeds the local rule limit but complies with the modified

                                                                    word limit that AOGA has requested from the Court concurrent with the filing of this

                                                                    brief.


                                                                                                                /s/ Ryan P. Steen
                                                                                                                Ryan P. Steen
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                                                                                                   CERTIFICATE OF SERVICE

                                                                             I hereby certify that on July 1, 2022, I filed a true and correct copy of the

                                                                    foregoing document with the Clerk of the Court for the United States District Court of

                                                                    Alaska by using the CM/ECF system. Participants in this Case No. 3:21-cv-00209-SLG

                                                                    who are registered CM/ECF users will be served by the CM/ECF system.



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